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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DARNELL SMITH, et al.,                             )
                                                   )
               Plaintiffs,                         )
                                                   )          No. 15-cv-03467
       v.                                          )
                                                   )          Judge Andrea R. Wood
CITY OF CHICAGO, et al.,                           )
                                                   )
               Defendants.                         )

                             MEMORANDUM OPINION AND ORDER

       Plaintiffs in this putative class action are African-American and Hispanic residents of the

City of Chicago (“City”) who claim that they were stopped and frisked by Chicago Police

Department (“CPD”) officers without justification in violation of their rights under the Fourth

Amendment to the United States Constitution. They have sued the City, former Chicago Police

Superintendent Garry McCarthy, and numerous individual CPD officers under 42 U.S.C. § 1983

for the alleged constitutional violations. Before the Court are Plaintiffs’ motion for certification of

several classes under Federal Rules of Civil Procedure 23(b)(2), 23(b)(3), and 23(c)(4). (Dkt. No.

425.) For the reasons that follow, Plaintiffs’ motion is granted in part and denied in part. The

Court certifies two of Plaintiffs’ proposed Rule 23(b)(2) classes: the Fourth Amendment Class and

the Fourth Amendment Loitering Subclass. However, the Court denies certification of Plaintiffs’

proposed Rule 23(b)(2) Fourteenth Amendment Class and Plaintiffs’ proposed Rule 23(b)(3) and

Rule 23(c)(4) classes.

                                          BACKGROUND

       In their Sixth Amended Complaint, Plaintiffs allege that Defendants have maintained a

policy or custom of unconstitutional stops and frisks of Chicago residents by the CPD, conducted
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without reasonable articulable suspicion in violation of the Fourth Amendment and the principles

set forth in Terry v. Ohio, 392 U.S. 1 (1968). In Terry, the Supreme Court held that police officers

are permitted to conduct a brief investigatory stop (or Terry stop) only when they have a

reasonable suspicion that an individual has committed, is committing, or is about to commit a

crime. Terry, 392 U.S. at 21; see also United States v. Williams, 731 F.3d 678, 683 (7th Cir.

2013). Plaintiffs contend that CPD officers nonetheless regularly detain people without reasonable

suspicion, and moreover, the CPD has long been aware of this problem but has failed to address it

adequately.

        I.       The Court’s Prior Ruling

        This is Plaintiffs’ second attempt at class certification. Plaintiffs previously sought

certification of six plaintiff classes under Rule 23(b)(3), seeking money damages. (Pls.’ Mot. for

Rule 23(b)(3) Class Certification, Dkt. No. 277.) As described in the Court’s Memorandum

Opinion and Order denying that request (May 29, 2019 Mem. Order & Op., Dkt. No. 388),

Plaintiffs’ putative class definitions relied heavily upon the CPD’s use of Contact Information

Cards (“contact cards”) to document investigatory stops and enforcement of the City’s Gang and

Narcotics-Related Loitering Ordinances. Specifically, Plaintiffs sought certification of two Rule

23(b)(3) classes: (1) a Fourth Amendment Class consisting of all persons subjected to

investigatory stops by the CPD at any time since April 20, 2013, which resulted in creation of a

contact card; and (2) a similar but more limited class consisting of all African Americans and

Hispanics1 subjected to investigatory stops by the CPD at any time since April 20, 2013, which

resulted in the creation of a contact card. In the alternative, Plaintiffs sought certification of four


1
 Throughout this Opinion, the Court generally uses the terms “African-American” and “Hispanic” when
referring to Plaintiffs’ racial and ethnic group identities, tracking the proposed class definitions. As also
seen in the record, however, the Court will sometimes use the terms “African-American” and “Black”
interchangeably.


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narrower Rule 23(b)(3) classes: (3) all persons who were encountered by the CPD for

enforcement of the Gang and Narcotics Loitering Ordinance at any time since April 20, 2013,

which resulted in the creation of a contact card; (4) all African Americans and Hispanics who

were encountered by the CPD for enforcement of the Gang and Narcotics Loitering Ordinance at

any time since April 20, 2013, which resulted in the creation of a contact card; (5) all persons

subjected to an investigatory stop by the CPD at any time since April 20, 2013, which resulted in

the creation of a contact card that contains no narrative; and (6) all African Americans and

Hispanics who were subjected to an investigatory stop by the CPD at any time since April 20,

2013, which resulted in the creation of a contact card that contains no narrative. As a final

alternative, Plaintiffs sought certification of a Rule 23(c)(4) issues-only class addressing questions

regarding whether the CPD’s policies and practices were intended to target minorities and

whether CPD policymakers were deliberately indifferent to the consequences of the investigatory

stop policies.

       In denying certification of the proposed Rule 23(b)(3) classes, the Court found that

Plaintiffs had not shown that their proposed classes met the commonality requirement under Rule

23(a)(2). First, Plaintiffs failed to show that the individualized inquiries for class members—such

as whether any given person was stopped and whether the officer who stopped the person lacked

reasonable suspicion—could be meaningfully resolved through common questions. Second, the

Court rejected Plaintiffs’ attempt to identify a common CPD policy that caused class members’

unconstitutional stops. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 353 (2011)

(“[S]ignificant proof that a [defendant] operated under a general policy . . . conceivably could

justify a class); Phillips v. Sheriff of Cook Cty., 828 F.3d 541, 551 (7th Cir. 2016) (recognizing

that “an illegal policy might provide the glue necessary to litigate otherwise highly individualized




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claims as a class” (internal quotations omitted)). Plaintiffs argued that the CPD maintained a

general policy that had the effect of pressuring officers to stop more people, as evidenced by the

Chicago Police Superintendent criticizing commanders and deputy chiefs whose subordinates did

not stop enough people and setting quotas for stops. The Court found Plaintiffs’ theory legally and

factually inadequate, finding that (1) there was not enough evidence that the CPD’s actions

influenced officers to conduct more stops; and (2) even if the CPD’s actions influenced officers’

motivations, the subjective motivations of officers when stopping people would not determine the

constitutionality of the stops. The Court further noted that the CPD’s use of quotas was facially

neutral (not directly encouraging officers to conduct unconstitutional investigative stops).

       In a separate ruling, the Court also largely granted Defendants’ motion to exclude

testimony offered by Plaintiffs’ expert witnesses. (Sept. 30, 2019 Mem. Op. & Order, Dkt. No.

412.) That testimony concerned more than three million contact cards produced in discovery,

which Plaintiffs hoped to use to show that the CPD committed widespread unconstitutional stops.

But the Court held that the conclusions drawn by Plaintiffs’ proposed experts—for example, that

“[d]uring the class period, the CPD engaged in a minimum of 368,436 Unconstitutional Stops”—

improperly offered case-determinative legal conclusions or findings reserved for the factfinder.

(See id. at 7 n.6.) The Court similarly held that Plaintiffs’ proposed expert testimony on the

reasonableness of stops described in sample contact cards would not be helpful to the jury.

Ultimately, the only expert testimony the Court allowed at this stage in the proceedings involved

summaries describing how many contact cards matched various search parameters. Notably,

Plaintiffs rely on the summaries in connection with the present motion to show racial disparities in

the CPD’s stop and frisk program.




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       II.     Plaintiffs’ Present Motion

       Plaintiffs now have moved again for class certification. This time they seek certification of

three classes under Rule 23(b)(2), seeking declaratory and injunctive relief; renew in part their

motion for class certification under Rule 23(b)(3), seeking damages; and again move in the

alternative for certification of an issues-only class under Rule 23(c)(4). Plaintiffs’ proposed

classes are similar and in some cases substantially identical to the proposed classes from their

initial motion. Because the Court rejected those classes based on a lack of commonality—a

requirement for Rule 23(b)(2) and Rule 23(b)(3) classes alike—a threshold question for the Court

is whether Plaintiffs’ arguments merit revisiting the commonality issue.

       Class certification decisions are interlocutory and subject to revision by the Court at any

time prior to final judgment. Fed. R. Civ. P. 23(c)(1)(C) (“An order that grants or denies class

certification may be altered or amended before final judgment.”); see Gen. Tel. Co. of Sw. v.

Falcon, 457 U.S. 147, 160 (1982) (describing class certification orders as “inherently tentative.”).

Here, the Court finds it appropriate to consider anew in connection with the present motion

whether Plaintiffs’ can demonstrate commonality because they have presented a new theory and

new evidence. Plaintiffs previously focused heavily on the contact cards (and the largely excluded

expert testimony) in arguing that the CPD’s investigatory stop quotas caused unconstitutional

stops, but they now contend that the CPD failed to implement adequate training, supervision, and

accountability measures to address a known problem of the stops violating individuals’ rights

under the Fourth and Fourteenth Amendments. This theory is distinct from Plaintiffs’ previous

argument that the CPD enforces an illegal investigatory stop quota and warrants fresh

consideration of the requirements for class certification and, in particular, the commonality

requirement.




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                A.      Evidentiary Record

        The parties have adduced a voluminous evidentiary record in support of their latest

arguments for and against class certification. The evidence is summarized below.2

                        1.       The CPD’s Stop and Frisk Practices

        During the time period relevant to this lawsuit, the CPD used two sets of forms to

document investigatory stops. Initially, police officers recorded stops on contact cards, which, as

Defendants acknowledge, include a narrative section for officers to record the reasonable

articulable suspicion justifying the investigatory stop or reason for contact. (Defs.’ Resp. at 13

n.12, Dkt. No. 425-50.) While contact cards were used to record both investigatory stops and

voluntary interactions as of September 2011, their use was limited to investigatory stops and

enforcement of Chicago’s gang and narcotics loitering ordinances as of April 3, 2014. (Mot., Ex.

39, Special Order S04-13-09 (2011) § 3, Dkt. No. 425-39.; Mot., Ex. 7, Special Order S04-13-09

(2014) § 4(B)(1), Dkt. No. 425-7.) In 2016, the CPD replaced the contact card with a new, two-

page “Investigatory Stop Report” (“ISR”), requiring police officers to complete a more detailed

form when documenting investigatory stops. (Mot., Ex. 18, Special Order S04-13-09 (2017), Dkt.

No. 425-18.) CPD policies direct police officers to make investigatory stops only under certain

circumstances and to document standardized information about those stops on ISRs and contact

cards. (Special Order S04-13-09 (2014); Special Order S04-13-09 (2017).) Contact cards and


2
  The parties have submitted declarations, reports, and other documents containing or constituting hearsay
that would not be admissible at trial. In the Seventh Circuit, contested expert opinions must meet the
standards of Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.
579 (1993), to be considered in connection with class certification. See Messner v. NorthShore Univ.
HealthSystem, 669 F.3d 802, 812 (7th Cir. 2012). The Seventh Circuit has not ruled on whether fact
evidence in support of class certification is subject to the same admissibility requirements as would apply
at trial, but other circuits have rejected such a requirement, allowing hearsay and other inadmissible
evidence to be considered for class certification purposes. Sali v. Corona Reg’l Med. Ctr., 909 F.3d 996,
1005 (9th Cir. 2018); In re Zurn Pex Plumbing Prod. Liab. Litig., 644 F.3d 604, 612–13 (8th Cir. 2011).
The Court follows the approach of those circuits.


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ISRs are not used to document arrests; rather, they generally document interactions in which

police officers suspect but do not uncover criminal activity. (Id.)

       Deposition testimony from CPD executives evidences the standards and practices

associated with contact cards. Alfonza Wysinger was First Deputy Superintendent with the CPD

from 2011 to October 2015, appointed to that position by McCarthy. (Mot., Ex. 8, Dep. of

Alfonza Wysinger at 25–26, Dkt. No. 25-8). Wysinger was responsible for the daily operations of

the police department and oversaw the CPD’s various bureaus: investigative services,

administrative services, organized crime, and detectives. (Id. at 66.) Wysinger testified that from

2011 through 2015, officers conducting investigatory stops were required to record the facts

justifying reasonable articulable suspicion using contact cards and supervisors were required to

review every contact card to confirm the reasonable articulable suspicion for those stops.

(Wysinger Dep. at 65.) Depositions of McCarthy and former interim Superintendent John

Escalante indicate that stop and frisk policies, like other department-wide policies, were

developed by a centralized executive team with the Superintendent wielding final policymaking

authority. (Mot., Ex. 24, Dep. of Garry McCarthy at 29, Dkt. No. 425-24.; Mot., Ex. 23, Dep. of

John Escalante at 24–25.)

       During McCarthy’s tenure, increasing stop and frisk encounters—as measured by contact

cards—was emphasized as a performance objective. The CPD tracked the number of contact

cards written in each of the police department’s districts and communicated those numbers down

the chain of command, reaching patrol officers. CompStat meetings were a primary forum for this

communication. First Deputy Superintendent Wysinger testified that McCarthy criticized district

commanders for having low contact card numbers, raising his voice and yelling at them. (Id. at

92.) CompStat meeting summaries show McCarthy pressuring commanders and deputy chiefs to




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produce more contact cards, including ranking each police district by the average number of

contact cards produced per officer. (See, e.g., Mot., Ex. 9, CompStat Summ. (1.17.13) at 15, Dkt.

No. 425-9 (“We can’t be patient anymore . . . Only 13 contact cards in 28 days by our best

performers? Your supervisors are not carrying the load . . . We can’t tolerate this any more

[sic].”);3 Mot., Ex. 10, CompStat Summ. (3.14.13) at 8, Dkt. No. 425-10 (“At the bottom of the

list is the 11th District on the average number of contact cards written per officer. You don’t want

to be last . . . Just improve the contact cards.”).)4 The summaries of CompStat meetings show a

singular focus on contact cards; in one such meeting, Wysinger closed out the meeting by saying

“You already know what I’m going to talk about today,” discussing a decrease in contact cards.

(Mot., Ex. 12, CompStat Summ. (5.16.15) at 14.) Wysinger warned that the decline in contact

cards was endangering officers, attributing two incidents where officers were fired upon to a

decline in street stops and concluding that stopping more people “will keep our officers alive.”

(Id.)

        The record contains less information about ISRs. Still, Plaintiffs’ evidence indicates that

ISRs serve essentially the same purpose as contact cards in documenting investigatory stops.

(Special Order S04-13-09 (2017).) CPD officers are required to document the facts that establish

reasonable articulable suspicion when writing ISRs. (Id. § III(D)(1)(a).) The CPD directive

governing ISRs also requires officers to comply with constitutional limits on stop and frisk



3
 Following McCarthy’s comments, Chief Robert Tracy admonished the commander of the 11th District to
“improve overall activity and especially contact cards.” (CompStat Summ. (1.17.13) at 15.) Later in the
same meeting, McCarthy admonished the 19th District Commander that “We’ve got to put our hands on
people . . . Three contact cards in 28 days is not good.” (Id. at 16.) First Deputy Wysinger added,
“WRONG FOOT! . . . We have to get more aggressive we have to have a sense of urgency we have to put
our hands on people.” (Id. (emphasis in original).)
4
 Although CompStat meeting notes are not verbatim accounts, they were distributed across the CPD to
guide policing strategy.


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activities, including defining the reasonable articulable suspicion requirement and prohibiting

officers from engaging in racial profiling or bias-based policing. (Id. §§ II(C), III(B), (E).)

                        2.       Data

        McCarthy served as Superintendent of the CPD from May 2011 to December 2015.

(McCarthy Dep. at 16, 48.) Stop and frisk patterns in Chicago can be roughly divided into three

phases for present purposes: pre-McCarthy, McCarthy, and post-McCarthy. During McCarthy’s

tenure, Chicago police officers stopped dramatically more people—hundreds of thousands

more—and after his departure, stops plummeted. Table 1, Chart 1, and Table 2 below were

created using data from Plaintiff’s evidentiary submissions.5

                    Table 1: CPD Contact Cards and ISRs by Year and Race
                         # Contact            # Stops          # Stops            # Stops
               Year
                        Cards / ISRs          (Black)         (Hispanic)          (White)
                2010        335,864              212,047           73,181             44,300
                2011        380,349              247,211           82,434             44,897
                2012        517,660              350,379          105,980             54,587
                2013        703,308              483,947          131,669             77,108
                2014        715,892              514,596          122,563             69,114
                2015        603,712              431,189          109,581             54,832
                2016        106,239               74,812           21,526              8,501
                2017        110,019               78,694           21,501              8,655




5
  As discussed below, not every contact card or ISR reflects an investigatory stop. The table and chart refer
to these cards as “stops” for the sake of convenience. Further, both Black Hispanic and White Hispanic
entries were included in the “Hispanic” category and excluded from the Black or White categories.


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(Mot., Ex. 20, Keys’s Third Report at 22, Dkt. No. 425-20; Mot., Ex. 13, App. E to Expert Report

of F. Eli Nelson at 1, Dkt No. 425-13.) The data shows that contact cards increased dramatically

during McCarthy’s tenure, increasing from 335,864 during 2010, the last full year before

McCarthy started, to a height of 715,892 in 2014. Stops decreased to only 106,239 in 2016—less

than a third of the number of stops in 2010—the year after McCarthy left CPD.

       The disproportionate rate at which police officers stopped African-American residents

increased during this period. In 2010, 63.1% of police stops were of African-American

individuals. By 2014, that rate had increased more than eight percentage points to 71.9%, and

remained roughly constant through 2017. While police officers stopped Hispanic residents much

more often than white residents, the overall proportion of stops of Hispanic residents actually

decreased during this period:




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                        Table 2: Racial Concentration of CPD Contact
                                    Cards / ISRs by Year
                               % Stops
                                              % Stops        % Stops
                      Year     (African
                                             (Hispanic)      (White)
                              American)
                      2010          63.1%          21.8%         13.2%
                      2011          65.0%          21.7%         11.8%
                      2012          67.7%          20.5%         10.5%
                      2013          68.8%          18.7%         11.0%
                      2014          71.9%          17.1%          9.7%
                      2015          71.4%          18.2%          9.1%
                      2016          70.4%          20.3%          8.0%
                      2017          71.5%          19.5%          7.9%

(Keys’s Third Report at 22; Nelson App. E. at 1.)

                       3.      Notice of Unconstitutional Activity and Supervision Deficits

       From 2000 to 2006, McCarthy served as the deputy commissioner of operations for the

New York City Police Department (“NYPD”), describing himself as “New York City’s principal

crime strategist in a political sense at the right hand of the police commissioner.” (Mot., Ex. 24,

Dep. of Garry McCarthy at 23, 25, Dkt. No. 425-24.) McCarthy ran NYPD’s CompStat system

and developed and authorized crime reduction strategies. (Id. at 26.) NYPD’s stop and frisk

practices during the period January 2004 through June 2012 were later held unconstitutional by a

federal court in the Southern District of New York. Floyd v. City of New York (“Floyd II”), 959 F.

Supp. 2d 540 (S.D.N.Y. 2013). The Floyd court found that the NYPD was “deliberately

indifferent to violations of the plaintiff class’s Fourth and Fourteenth Amendment rights.” Id. at

590. As relevant here, the court further found that the NYPD had notice of its officers’

unconstitutional stops and disproportionate stopping of African-American and Hispanic residents

but nevertheless increased its use of stop and frisk sevenfold between 2002 and 2011. Id. This

increase was implemented through CompStat meetings—the accountability mechanism that




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McCarthy ran through 2006—at which commanders were pressured to increase stops, leading to

pressure on police managers and officers to stop more people. Id.

       Even as the NYPD pressured officers to stop more people, it failed to address the known

issue of unconstitutional stops. Id. The NYPD was on notice of the issue of unconstitutional stops

because a 1999 report by the New York Attorney General had found that 15% of UF-250s—the

New York equivalent of contact cards—included facts that did not sustain the reasonable

suspicion necessary to justify a search, even after resolving “every ambiguity of factual or legal

interpretation” in favor of such justification. Id. at 591. The Floyd court described the pressure on

officers to increase stops without emphasizing constitutional policing as “a predictable formula

for producing unjustified stops.” Id. at 602. The court similarly found that the NYPD’s policy of

targeting “the right people,” which was understood by the NYPD’s top uniformed officer to allow

for indirect racial profiling based on people’s race and age, led officers to stop people based on

their race. Id. at 603–04.

       Later, from 2006 to 2011, McCarthy served as Police Director of the Newark Police

Department. (McCarthy Dep. at 16.) In Newark, as in Chicago, McCarthy used CompStat to

influence police commanders to implement the Newark Police Department’s preferred crime

control strategies. (Id. at 38–40.) On July 22, 2014, the U.S. Department of Justice released a

report concluding that the Newark Police Department violated the Fourth Amendment in the

majority of its stops, finding that facts supporting reasonable articulable suspicion were not

recorded in 75% of stops between January 2009 and June 2012. (Mot., Ex. 6, Investigation of the

Newark Police Department at 8–9, Dkt. No. 425–6.) The report also concluded that Newark’s

policing practices had a disparate impact on the city’s African-American population, describing

the disparity as “stark and unremitting,” but did not opine on whether this disparity violated the




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Fourteenth Amendment. (Id. at 16.) The report attributed the Newark Police Department’s pattern

of constitutional violations, in part, to management and supervision failures. Specifically, the

report noted that the Newark Police Department did not require “meaningful review of officer

actions by supervisors,” treating review of stops as an administrative necessity, not an opportunity

to enforce constitutional policing practices. (Id. at 42.)

       The evidence adduced by Plaintiffs is sufficient to show that McCarthy knew, or should

have known, that there was a meaningful risk that his CompStat-driven stop and frisk policy

caused unconstitutional stops. The Floyd decision and the Department of Justice’s report on the

Newark Police Department—both of which were issued while McCarthy was still the CPD’s

Superintendent—should have led the CPD to grapple with the constitutionality of its own stop and

frisk program. But although McCarthy indicated that he was familiar with the Floyd decision and

the Newark investigation, his deposition testimony in this case revealed that he knew little of the

Floyd case and had not read the Department of Justice’s report. (McCarthy Dep. at 51–65.)

       In March 2015, the ACLU of Illinois released a report finding that Chicago police officers

gave unlawful reasons for stops or did not provide enough information to justify a stop on almost

half of all contact cards reviewed by the ACLU. (ACLU Report at 2.) Per capita, the CPD stopped

residents at more than four times the rate of the NYPD at the height of New York’s stop and frisk

program. (Id. at 3.) In August 2015, the City entered into a settlement agreement with the ACLU,

committing to provide training to police officers and supervisors to prevent unconstitutional stops

and appointing the Honorable Arlander Keys (retired) as supervising consultant to the agreement

(Mot. Ex. 17, Investigatory Stop and Protective Pat Down Settlement Agreement, Dkt. No. 425-

17.)




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        Under the ACLU agreement, the CPD’s Integrity Section audits ISRs for errors, including

both administrative mistakes (like failing to check a box) and substantive deficiencies (failing to

justify reasonable articulable suspicion.) (Keys’s Third Report at 88.) Officers are required to

document the support for their reasonable articulable suspicion to conduct a stop. (Special Order

S04-13-09 § III(D)(1)(a).) When officers do not record enough information to justify reasonable

articulable suspicion, the underlying stop can be regarded as at least facially unlawful. CPD’s own

audits of ISRs indicated that 10–11% of stops in the first half of 2017 violated the Fourth

Amendment for lack of justification, and around 15% of stops in the second half of 2017 violated

the Fourth Amendment. (Keys’s Third Report at 88–89.) Judge Keys characterized this increase

as reflecting “according to the CPD’s data . . . a pattern of increasingly unjustified numbers of

stops and frisks from Period 2 [the second half of 2016] to Period 4 [the second half of 2017].”

(Id. at 90.)

        As the supervising consultant to the ACLU agreement, Judge Keys and a team of experts

reviewed a broad range of data, including ISR stop data, sample ISRs, audit reports, and the

CPD’s workflow protocols for creating and reviewing ISRs. (Id. at 31 n.24.) In this review, Judge

Keys concluded that the CPD’s ISR policies allowed the CPD to cover up Fourth Amendment

violations in investigatory stops. In theory, the CPD’s ISR review policies should flag Fourth

Amendment violations—where officers lacked reasonable articulable suspicion for stops—and

ensure that officers making such stops are corrected and monitored to ensure constitutional

policing. But CPD supervisors routinely allowed officers to modify their written justifications for

stops under a “return and resubmission” process. (Id. at 51.) Some police officers were allowed to

revise a single ISR up to seven times, and the revision process could take months, far longer than

a police officer could realistically remember the details of a stop and frisk. (Id.) Judge Keys




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described this process as improper “as a matter of law,” writing, “the only purpose for returning

an ISR for correction appears to be to ensure that it is approved.” (Id.)

       According to Judge Keys, the CPD’s abuse of the ISR review process was “not a mere

technicality” but instead indicative of “widespread disregard of the basic and express

accountability and transparency requirements” caused by “prevalent misuse by reviewing

supervisors . . . and the acquiescence of this misuse by executive officers.” (Id. at 26.) Judge Keys

found that this policy effectively hid unlawful stops because the CPD audited only the finalized,

“corrected” ISRs—which had been modified to create the (false) impression of lawful police

action. (Id. at 27.) Judge Keys further found that police supervisors “tell the officer to articulate

certain facts not apparent in the first narrative or to change elements of the original ISR in a

manner that the original narrative remarks tend not to support. In other words, supervisors are

dictating information that the officer never provided.” (Keys’s Third Report at 75.)

       Judge Keys’s findings of widespread facially unconstitutional stops based on ISRs are

mirrored in an analysis conducted by Defendants’ expert Stephen Parker, a former federal

prosecutor who, among other things, served as the lead Department of Justice attorney in the

federal consent decree over the New Orleans Police Department. (Resp., Ex. BB,, Parker Report

at 3–4.) Parker reviewed a sample of 10,820 contact cards created between 2010 and 2015.

(Parker Report Ex. 4, Dkt. No. 321-4.) He found that the narratives contained in 6,016 of these

contact cards did not suggest investigatory stops, instead reflecting events such as a consensual

encounter or (most often) having insufficient information to determine the nature of the

interaction. (Resp., Ex. BB, Parker Report Ex. 5, Dkt. No. 450-28.) Of the approximately 5,200

stops suggesting an investigatory stop, reasonable articulable suspicion was suggested by the

officer’s narrative in only 1,326 stops (25.6%), while 3,863 stops (74.4%) did not include a




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narrative suggesting reasonable articulable suspicion. (Id. (percentages calculated by the Court).)

In all, 3,863 of 11,205 contact cards—34.5% of those in the sample reviewed by Defendants’

expert witness—suggested an investigatory stop conducted without reasonable articulable

suspicion in violation of the Fourth Amendment. (Id.)

       Parker also opines that the contact cards cannot reliably determine whether a stop violated

the Fourth Amendment because the narratives omit information relevant to the stop’s

constitutionality (Id. at 21, 23–24.) The Court agrees. Nonetheless, the Court concludes that the

reasons presented on contact cards or ISRs provide insight into the existence and extent of Fourth

Amendment violations for purposes of class certification, particularly where CPD’s policies have

required officers to provide the reasons justifying reasonable articulable suspicion.

       Defendants do not directly contest Judge Keys’s findings that the ISR review process

facilitated the coverup of unconstitutional stops. Instead, Defendants assert that CPD has

conducted audits to ensure constitutional stops. But Defendants offer no evidence that these audits

were used to change behavior or to reduce unconstitutional stops, and evidence suggests that the

problem of unconstitutional stops has worsened since CPD began its audits, as discussed above.

       Furthermore, as discussed above, third parties investigating and reporting on CPD’s

accountability structure found that supervisors did not take action to ensure constitutional

policing. The Department of Justice’s investigation in particular decried the “breadth and depth of

CPD’s failure to provide proper supervision,” writing, “Our overarching impression of

supervisors from officers is that, with notable exceptions supervisors do not lead. we were told on

several occasions that sergeants are ‘not there to ruffle any feathers.’” (DOJ Report at 105.)

Supervisors reported being “wary of intervening to correct rule or tactical errors, because ‘no one

wants to be the bad guy.’” (Id.) The investigation concluded that structural failures of




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management, training, accountability and intervention prevented meaningful supervision and

assurance of constitutional policing. (Id. at 107–116.) The Police Accountability Task Force

echoed these findings, concluding that the CPD failed to effectively manage “problem officers”

known by supervisors and CPD’s leadership to commit misconduct, including not using tools

used in other departments to detect and manage misconduct.6 (PATF Report at 96.) As one

example of this lack of accountability, First Deputy Superintendent Wysinger testified that

although there were supposed to be audits of contact cards, he could not recall ever reviewing

such an audit. (Wysinger Dep. at 65.) Plaintiffs allege, and Defendants do not rebut, that no audits

of the contact card system were conducted during McCarthy’s tenure as Superintendent.

                        4.      Training

         The CPD’s emphasis on contact cards between 2011 and 2015, and the hundreds of

thousands of additional annual stops that resulted, were not accompanied by training to ensure

that officers observed constitutional limits. Plaintiffs present evidence of the CPD’s training

program gathered from third-party reports and investigations. (Mot., Ex. 14, ACLU of Illinois,

Stop and Frisk in Chicago (“ACLU Report”), Dkt. No. 425-14; Mot., Ex. 15, Police

Accountability Task Force, Recommendations for Reform: Restoring Trust between the Chicago

Police and the Communities they Serve (“PATF Report”), Dkt. No. 425-15; Mot., Ex. 16, U.S.

Department of Justice & U.S. Attorney’s Office, Northern District of Illinois, Investigation of the

Chicago Police Department (“DOJ Report”,) Dkt. No. 425-16.) While the Court affords this

evidence less weight than direct documentation of CPD’s training programs or testimony from

people involved in CPD’s training, the Court does find Plaintiffs’ evidence probative of the



6
 The Police Accountability Task Force report explains that although the CPD has attempted various
supervision reforms over the past three decades, those efforts “were allowed to wither on the vine or were
never executed at all.” (PATF Report at 99–100.)


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CPD’s training on constitutional stop and frisk during the McCarthy regime, especially because

Defendants have not presented evidence rebutting Plaintiffs’ key contentions.

       In March 2015, the ACLU of Illinois reported that the CPD had no record of providing

training to officers on conducting lawful stop and frisks following police academy training.

(ACLU Report at 4, 9.) In July 2016, a similar finding—that CPD had no annual training

requirements other than firearms certification—was made by the Police Accountability Task

Force (an ad hoc advisory group convened by then-Mayor Rahm Emanuel following the October

20, 2014 police killing of Laquan McDonald.) (PATF Report at 30.) While the CPD offered a

range of training content, including playing videos to officers during roll calls, the Task Force

described the training regime as “reactive” and inconsistently used. (Id.) The U.S. Department of

Justice, reporting on its investigation into CPD’s unconstitutional policing practices, assessed the

department in its January 2017 report:

       CPD’s pattern of unlawful conduct is due in part to deficiencies in CPD’s training
       and supervision. CPD does not provide officers or supervisors with adequate
       training and does not encourage or facilitate adequate supervision of officers in the
       field. These shortcomings in training and supervision result in officers who are
       unprepared to police lawfully and effectively; supervisors who do not mentor or
       support constitutional policing by officers; and a systemic inability to proactively
       identify areas for improvement, including Department-wide training needs and
       interventions for officers engaging in misconduct.

(DOJ Report at 10.) More recently, the CPD has increased its required training, providing

mandatory training on investigatory stops to all officers and requiring “refresher” trainings for

officers who have committed errors in completing ISRs. (Mot., Ex. 22, Deposition of Karen

Murphy at 55, 61–65, Dkt No. 425-22.)

       Defendants contend that the CPD has provided sufficient training on stop and frisk. CPD

cadets receive various trainings on investigatory stops and contact cards at the police academy.

(Resp., Ex. HH, CPD Basic Recruit Curriculum, Dkt. No. 450-32.) Similarly, streaming videos,



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classroom courses, and electronic trainings are provided to CPD officers, although Defendants do

not contend that these trainings were required or universally administered. (Resp., Exs. SS–TT,

Lesson Plans and Related PowerPoints, Dkt. Nos. 425-45, 425-46.)

                       5.      Summary

       Based on the data and evidence presented, the Court concludes that Plaintiffs have made a

sufficient showing for purposes of class certification that the CPD deployed a centralized stop and

frisk program during the times relevant to this case. The rapid surges and declines in stops, the use

of CompStat to drive investigatory stops, the standardized requirements and reporting, and the

active monitoring of investigatory stops are all indicative of a centralized program. Likewise

Plaintiffs have made a sufficient showing that the City knew, or should have known, that its stop

and frisk program was associated with a risk of widespread Fourth Amendment violations. The

evidence shows that many contact cards contained facially insufficient justifications for

investigatory stops and that the CPD’s own audits show a continuing (and worsening) pattern of

unconstitutional stops under the ISR system. Moreover, Plaintiffs have adduced evidence that

CPD’s response to this problem actually facilitated the coverup of unconstitutional stops, as

evidenced by supervisors providing false information to officers to give stops the appearance of

constitutionality.

                                           DISCUSSION

       I.      Legal Standard

       Federal Rule of Civil Procedure 23 permits individual plaintiffs to sue as representatives

of an aggrieved class. See Fed. R. Civ. P. 23. The district court has broad discretion to determine

whether to certify a class action. See Mira v. Nuclear Measurements Corp., 107 F.3d 466, 471

(7th Cir. 1997). To be certified, a proposed class must first satisfy all four requirements of Rule




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23(a): (1) the class must be so numerous that joinder of all members is impracticable

(“numerosity”); (2) there must be questions of law or fact common to the class (“commonality”);

(3) the claims or defenses of the representative parties must be typical of the claims or defenses of

the class (“typicality”); and (4) the representative parties must fairly and adequately protect the

interests of the class (“adequacy”). Fed. R. Civ. P. 23(a). Further requirements apply depending

on whether plaintiffs seek 23(b)(2) certification (seeking only final, classwide injunctive or

declaratory relief) or 23(b)(3) certification (allowing plaintiffs to seek damages). Id. 23(b).

“Failure to meet any of the Rule’s requirements precludes class certification.” Arreola v. Godinez,

546 F.3d 788, 794 (7th Cir. 2008).

         Plaintiffs bear the burden of demonstrating their entitlement to class certification: they

must “prove that there are in fact sufficiently numerous parties, common questions of law or fact,

etc.” Wal-Mart Stores, 564 U.S. 338, 350 (2011). The Court engages in a “rigorous analysis” to

confirm that Plaintiffs have met this burden. Falcon, 457 U.S. at 161. This analysis engages

“considerations that are enmeshed in the factual and legal issues comprising the plaintiff’s cause

of action.” Id. at 160 (internal quotation marks omitted). Ultimately, Plaintiffs need not show that

the class satisfies each requirement “to a degree of absolute certainty”; instead, they must

establish each requirement by a preponderance of the evidence. Messner v. Northshore Univ.

HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012).

         Several class certification requirements, such as whether there are questions of law or fact

“common to the class,” can only be evaluated by reference to Plaintiffs’ underlying claims. Fed.

R. Civ. P. 23(a)(2). Thus, the Court briefly discusses the elements of Plaintiffs’ claims.7


7
  In addition to the class claims described here, Plaintiffs’ complaint also alleges class claims for the
Illinois state-law torts of “assault and battery” and “violation of the right to privacy.” But Plaintiffs did not
raise any arguments in support of class certification for those claims, and thus the Court does not consider
those claims in the present ruling.


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       Plaintiffs allege that their Fourth Amendment rights were violated, seeking relief pursuant

to 42 U.S.C. § 1983. To establish their Fourth Amendment claim, Plaintiffs must demonstrate (1)

that they were actually seized, and (2) that the seizure was unconstitutional. See Illinois v.

Wardlow, 528 U.S. 119, 123–24 (2000). In the context of investigatory Terry stops, Plaintiffs

must demonstrate that the officer who stopped them did not have a reasonable articulable

suspicion that Plaintiffs committed a crime or were about to do so. See Williams, 731 F.3d at 683

(“Police officers may detain a suspect for a brief investigatory stop if they have a reasonable

suspicion based on articulable facts that a crime is about to be or has been committed.” (internal

quotation marks omitted)).

       Plaintiffs also allege violations of the Equal Protection Clause of the Fourteenth

Amendment. Police officers may not use race as the basis for deciding who to stop and frisk. See

Whren v. United States, 517 U.S. 806, 813 (1996) (“[T]he Constitution prohibits selective

enforcement of the law based on considerations such as race.... [T]he constitutional basis for

objecting to intentionally discriminatory application of laws is the Equal Protection Clause.”). It

is not enough for Plaintiffs to show that that police officers disproportionately seize African-

American and Hispanic Chicagoans under the stop and frisk program. Vill. of Arlington Heights v.

Metro. Hous. Dev. Corp., 429 U.S. 252, 264–65 (1977) (“[O]fficial action will not be

held unconstitutional solely because it results in a racially disproportionate impact.”). Instead,

Plaintiffs also must present “[p]roof of racially discriminatory intent or purpose.” Id. at 265.

       Plaintiffs’ class claims against the City of Chicago are evaluated under the standard for

municipal liability under Monell v. Department of Social Services of City of New York, 436 U.S.

658 (1978). Monell provides that local governments may be held liable for constitutional

violations where the challenged action is a “policy statement, ordinance, regulation, or decision




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officially adopted and promulgated by that body’s officers” or a “governmental ‘custom’ even

though such a custom has not received formal approval through the body’s official

decisionmaking channels.” Id. at 690–91. To establish a claim under Monell, Plaintiffs must

establish that (1) they suffered a deprivation of a constitutional right, (2) as a result of an express

municipal policy, widespread custom, or deliberate act of a decision-maker with final

policymaking authority, that was (3) the cause of the constitutional injury. See King v. Kramer,

763 F.3d 635, 649 (7th Cir. 2014). Plaintiffs must also identify an official policy or custom that

was the direct cause or moving force behind the deprivation of their constitutional rights. See

Pyles v. Fahim, 771 F.3d 403, 409–10 (7th Cir. 2014).

       II.     Proposed Rule 23(b)(2) Classes

       Plaintiffs seek certification of three classes or subclasses under Rule 23(b)(2):

       Fourth Amendment Class: All persons who, since April 20, 2013, have been, or in
       the future will be, subjected to an investigatory stop by the Chicago Police
       Department which resulted in the creation of a Contact Information Card or
       Investigatory Stop Report.

       Fourteenth Amendment Subclass: All African Americans and Hispanics who, since
       April 20, 2013, have been, or in the future will be, subjected to an investigatory
       stop by the Chicago Police Department which resulted in the creation of a Contact
       Information Card or Investigatory Stop Report.

       Fourth Amendment Loitering Subclass: All persons who, since April 20, 2013,
       have been, or in the future will be, encountered by the Chicago Police Department,
       resulting in the creation of a Contact Information Card or Investigatory Stop
       Report and where the listed contact type was “GANGLTR,” defined by the CPD as
       “Gang and Narcotics-Related Loitering.”

(Mot. at 14.) For a proposed class to be certified, Plaintiffs must establish each Rule 23

requirement by the preponderance of the evidence. Messner, 669 F.3d at 811. Class certification




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under Rule 23(b)(2) would allow class members to seek “final injunctive relief . . . respecting the

class as a whole.”8 Fed. R. Civ. P. 23(b).

                 A.      Numerosity

         Rule 23(a)(1) requires a showing that the proposed class is “so numerous that joinder of

all members is impractical.” Fed. R. Civ. P. 23(a)(1). While the rule does not require any specific

minimum number of plaintiffs, the Seventh Circuit has recognized that a class of 40 members is

generally considered sufficient. See Mulvania v. Sheriff of Rock Island Cty., 850 F.3d 849, 859

(7th Cir. 2017). In this case, Chicago police officers have stopped more than a million people

since the start of the proposed class period of April 20, 2013. (Mot. Ex. 13 at 1.) The subjects of

those stops were overwhelmingly African-American and Hispanic. And according to analysis of

the CPD’s stop data by Plaintiffs’ attorneys, 30,982 of the stops between April 20, 2013 to

December 31, 2015 recorded on contact cards were designated as GANGLTR, “Gang and

Narcotics-Related Loitering.” (Mot., Ex. 26, Decl. of Kyle Pozan ¶¶ 7, 9, Dkt. No. 425-26.)

Another 463 stops recorded on Investigatory Stop Reports between January 1, 2016 and February

28, 2016 were designated GANGLTR, as well as 12,390 stops between February 29, 2016 and

January 18, 2018. (Mot., Ex. 27, Decl. of Brian Eldridge ¶¶ 9, 13, Dkt. No. 425-27).) Because

Plaintiffs’ class definitions rely on contact cards and Investigatory Stop Reports, and the smallest

such class contains tens of thousands of members, Plaintiffs easily clear the numerosity

requirement for each of the three proposed 23(b)(2) classes.

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  Plaintiffs may pursue injunctive relief without certifying a class; the significance of class certification for
injunctive relief (and justifications for subjecting class members to res judicata in a Rule 23(b)(2) class)
have been vigorously debated. See Davis Marcys, Flawed but Noble: Desegregation Litigation and its
Implications for the Modern Class Action, 63 Fla. L. Rev. 657, 662–70 (2011). Generally, parties seeking
equitable relief must demonstrate irreparable harm not adequately remedied by monetary damages, show
that the balance of hardships favors the plaintiffs, and show that the injunctive relief would be in the public
interest. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). In a civil rights case seeking
equitable relief, class certification may tip the balance of hardships and the public interest analysis towards
plaintiffs by aggregating their claims.


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                B.     Commonality

        Rule 23(a)(2) requires that there be questions of law and fact common to the class. To

satisfy the commonality requirement, the claims of the proposed class members “must depend

upon a common contention that is capable of class-wide resolution.” Chi. Teachers Union, Local

No. 1 v. Bd. of Educ. of City of Chi., 797 F.3d 426, 434 (7th Cir. 2015). The determination of the

truth or falsity of the common contention must “resolve an issue that is central to the validity of

each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. The commonality requirement

is not met by simply raising common questions; rather, Plaintiffs must show “the capacity of a

classwide proceeding to generate common answers apt to drive the resolution of the litigation.”

Id. (emphasis in original); see also id. at 349 (“[A]ny competently crafted class complaint literally

raises common questions. For example: Do all of us plaintiffs indeed work for Wal-Mart? Do our

managers have discretion over pay? . . . Reciting these questions is not sufficient to obtain class

certification.”).

        In Wal-Mart, the Supreme Court held that even if many female Wal-Mart employees had

lost pay and been denied promotions because of gender discrimination, they could not justify

class certification without pointing to some “glue” holding together the reasons for the allegedly

discriminatory decisions. Id. at 352. The Court found that the plaintiffs provided no evidence of a

corporate policy or practice causing the discrimination other than a general policy of allowing

supervisors to exercise discretion over pay and promotions, and concluded that it was “quite

unbelievable” that managers would exercise their discretion “in a common way without some

common direction.” Id. at 355–56. To glue together the challenged pay and promotion decisions,

which were highly individualized, the plaintiffs needed (and did not produce) a common causal

factor. However, proof of a defendant’s “general policy” of unlawful action can justify class




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certification. Wal-Mart, 564 U.S. at 353; see also Phillips v. Sheriff of Cook Cty., 828 F.3d 541,

551 (7th Cir. 2016) (recognizing that “an illegal policy might provide the glue necessary to

litigate otherwise highly individualized claims as a class” (internal quotations omitted)).

         While Plaintiffs here must glue their claims together, they need not show that all, or even

most, class members hold winning claims. See Kohen v. Pac. Inv. Mgmt. Co., 571 F.3d 672, 677

(7th Cir.2009) (“[A] class will often include persons who have not been injured by the

defendant’s conduct . . . Such a possibility or indeed inevitability does not preclude class

certification . . . .”); Bell, 800 F.3d at 376 (“A proposed class of plaintiffs must prove the

existence of a common question . . . but it need not prove that the answer to that question will be

resolved in its favor.”) Plaintiffs raise several common questions, which are analyzed in turn

below.

                        1.     Fourth Amendment Class

         Plaintiffs offer two common questions for the Fourth Amendment Class’s claims: (1) does

the CPD have a centralized practice of performing suspicionless stops and frisks, and (2) do flaws

in the CPD’s systems of training, supervision and accountability contribute to its widespread

practice of unlawful stop and frisks? If these questions are at issue, their resolution will drive the

litigation forward—the questions go to the Monell elements of whether Plaintiffs’ constitutional

deprivations were caused by an express policy, widespread custom, or deliberative act of a

policymaking decision-maker causing the constitutional injuries. See King, 763 F.3d at 649. If the

CPD has implemented a centralized regime of unlawful stops and frisks, and if training,

supervision, and accountability deficiencies contribute to widespread unlawful stop and frisks,

then Plaintiffs will have resolved a central issue of their claims “in one stroke.” Wal-Mart, 564

U.S. at 350. This theory differs significantly from the common question offered in Plaintiffs’ first




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class certification motion, where Plaintiffs contended that the CPD’s alleged use of quotas caused

unconstitutional stops.

        The Wal-Mart plaintiffs’ only common allegation was that Wal-Mart caused sex

discrimination by giving discretion to supervisors. In contrast, as detailed above, Plaintiffs

credibly contend that the CPD implemented a department-wide stop and frisk strategy, failed to

train its employees adequately in spite of well-documented and widespread constitutional

violations, covered up evidence of police misconduct through the ISR review process, and took

all those actions through a hierarchical chain-of-command structure extending to the CPD’s

highest levels. Plaintiffs also offer substantial evidence that these policies are centralized, in that

the policies were developed by a centralized leadership group and approved by the

Superintendent. Plaintiffs’ evidentiary showing also indicates that their proposed questions can be

resolved on a classwide basis and will drive resolution of the litigation. The Court thus finds that

Plaintiffs have demonstrated commonality by the preponderance of the evidence.

        Certainly, Plaintiffs do not present a plausible argument that their individualized claims

could each be efficiently adjudicated through a class action (an issue addressed in more detail

below in the discussion of Plaintiffs’ proposed Rule 23(b)(3) and Rule 23(c)(4) class certification

arguments.) Instead, Plaintiffs have adduced evidence of the kind of illegal policy that Wal-Mart

and Phillips identified as potentially providing the necessary glue for a class action. Wal-Mart,

564 U.S. at 353; Phillips, 828 F.3d at 541. Defendants raise four specific objections to Plaintiffs’

policy and practices arguments for class certification.

        First, Defendants fault Plaintiffs for not including allegations regarding the Investigatory

Stop System or mentioning ISRs in their Sixth Amended Complaint. Defendants contend that

Judge Keys’s review of the CPD’s ISR system is therefore irrelevant to class certification. But




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Plaintiffs’ Sixth Amended complaint clearly alleges that Defendants violated the purported class

members’ Fourth Amendment rights by failing to provide adequate training, supervision and

accountability responsive to Fourth Amendment violations. (Sixth Am. Compl. ¶¶ 306–16, Dkt.

No. 177.) The Complaint similarly warns Defendants of their intention to obtain equitable relief

to prevent future Fourth Amendment violations. (Id. ¶ 321.) Thus, the Court finds no merit in

Defendants’ argument that some failure of notice pleading defeats Plaintiffs’ attempt at class

certification.

         Second, Defendants contend that Plaintiffs have provided no evidence that training,

supervision, and accountability shortcomings caused Plaintiffs’ alleged Fourth Amendment

violations.9 But Plaintiffs do not have the burden of proving a causal link between the CPD’s

alleged policies and unconstitutional investigatory stops in order to achieve class certification, and

it would be inappropriate to resolve that merits issue at the present stage in the proceedings.

Instead, Plaintiffs must demonstrate a common issue that will drive resolution of their claims.

Plaintiffs’ evidence that the CPD implemented an ISR review system that facilitated the coverup

of facially unconstitutional stops, coinciding with an increased rate of facially unconstitutional

stops over a two-year period, more than adequately establishes a common issue.

         Third, Defendants correctly note that Monell claims based on “failure to train” are

challenging to prove. Under “limited circumstances, a local government’s decision not to train

certain employees about their legal duty to avoid violating citizens’ rights may rise to the level of

an official government policy for purposes of § 1983.” Connick v. Thompson, 563 U.S. 51 (2011).

Under that standard, a local government’s failure to train must amount to deliberate indifference


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  Defendants also contrast the evidence presented in this case to the extensive statistical analyses and
anecdotal evidence presented in other police practices class actions, including the Floyd case. (Resp. at 35–
37.) However, those cases did not purport to set minimum requirements for the amount of anecdotal and
statistical proof required to certify a Rule 23(b)(2) police practices class.


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to the rights of the citizens who the officers encounter. See id. (citing Canton v. Harris, 489 U.S.

378, 388 (1989)). Proof of deliberate indifference in the context of a failure to train case “can take

the form of either (1) failure to provide adequate training in light of foreseeable consequences; or

(2) failure to act in response to repeated complaints of constitutional violations by its officers.”

Sornberger v. City of Knoxville, Ill., 434 F.3d 1006, 1029–30 (7th Cir. 2006). Here, the evidence

adduced by Plaintiffs suggests failures to act in response to repeated constitutional violations,

including failure to hold CPD officers accountable for facially unconstitutional stops and

supervisors providing false information to police officers to cover up constitutional violations.

Here again, Plaintiffs’ evidence supports the existence of common, classwide questions.

       Fourth, Defendants contend that Plaintiffs have not demonstrated a continuing course of

conduct necessary to establish deliberate indifference under Monell, and that the CPD’s efforts to

improve its practices rebut claims of deliberate indifference. But Plaintiffs have presented

evidence that the CPD, over the course of at least several years, eschewed substantive compliance

with the Fourth Amendment for administrative review mechanisms that created only the

appearance of constitutional conduct. While the Court cannot presently resolve that claim on the

merits, Plaintiffs’ evidence is sufficient to establish a common question regarding deliberate

indifference.

       Defendants also contest whether class certification is tenable given the highly

individualized questions regarding whether any given stop violated the Fourth Amendment. Even

granting a class members’ claim that he or she was stopped in violation of the Fourth

Amendment, the cause of that constitutional violation might be poor training, lack of supervision,

a simple mistake, or any number of things. But Plaintiffs do not merely allege that training and

supervision failures caused their unconstitutional stops; they also allege that the CPD’s continuing




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deliberate indifference to Fourth Amendment violations places Plaintiffs at risk of future injury.

(Sixth Am. Compl. ¶ 321.) The drafters of Rule 23 explained that Rule 23(b)(2) classes are

appropriate “in the civil-rights field where a party is charged with discriminating unlawfully

against a class, usually one whose members are incapable of specific enumeration.” Fed. R. Civ.

P. 23 1966 Advisory Committee Note. Thus, courts have rejected Defendants’ position that it is

necessary to resolve the constitutionality of allegedly unconstitutional stops for each class

member in a Rule 23(b)(2) class. See Floyd v. City of New York (“Floyd I”), 283 F.R.D. 153, 171

n.114 (S.D.N.Y. May 16, 2012) (“The court cannot (and need not) determine which of the class

members’ stops were lawful.”)

       Ultimately, Plaintiffs have provided sufficient evidence of a common question of whether

supervision and training deficiencies caused the alleged Fourth Amendment violations.

Defendants are welcome to defend against these claims by contending that the Fourth

Amendment violations did not occur or that the violations were not caused by supervision and

training deficiencies, but such a defense does not defeat commonality for purposes of certifying a

Rule 23(b)(2) class.

                       2.      Fourteenth Amendment Class

       Plaintiffs propose two common questions for purposes of their proposed Fourteenth

Amendment Class: (1) Is the “Racial Profiling General Order” unconstitutional? and (2) Is the

practice of stopping “the right people” a type of indirect racial profiling?

       The Court finds no merit in Plaintiffs’ first proposed question. What Plaintiffs refer to as a

“racial profiling” order is in fact a departmental order prohibiting the use of race as a sole factor

justifying police action. (Mot., Ex. 40, General Order G02-04, Dkt. No. 425-40.) Plaintiffs cite

several CPD employees testifying that race could be used to justify investigatory stops under this




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order, but the deposition transcripts reveal that this testimony was given in the context of

discussing suspect descriptions, and Plaintiffs do not contend that race may not be considered

when matching a person to the description of a crime suspect. (Mot., Ex. 41, Dep. of Robert

Tracy. at 226, Dkt. No. 425-41; Mot., Ex. 38, Dep. of Terence Williams at 100–01, Dkt. No. 425-

38; Murphy Dep. at 130.) At most, Plaintiffs’ evidence indicates that the CPD’s directive on

racial profiling did not explicitly bar all kinds of racial profiling. But Plaintiffs have not presented

a cognizable argument that an incomplete general order, by itself, violates the Fourteenth

Amendment. Further, the CPD’s 2017 revised general order explicitly prohibits the use of race in

routine law enforcement decisions, except for listed characteristics in a specific suspect

description. (Resp., Ex. FF, G02-04 (2017), Dkt. No. 450-32.) Without something more linking

the CPD’s alleged policy deficiencies to unconstitutional conduct, the Court cannot find a

common question.

       Plaintiffs next propose the common question of whether the CPD’s practice of “stopping

the right people” had a discriminatory effect and was motivated by a discriminatory intent or

purpose—the elements of an Equal Protection Claim pursuant to Village of Arlington Heights,

429 U.S. at 265. Under Wal-Mart, Plaintiffs must demonstrate that class members “suffered the

same injury,” a question that overlaps with the merits of Plaintiffs’ complaint. 564 U.S. at 349,

351–52. Plaintiffs begin with McCarthy’s directive to stop “the right people”—not just “old ladies

sweeping their stoops” but instead (presumably) people who look like criminals, however police

officers may evaluate that appearance. (See Mot., Ex. 43, CompStat Summ. (12.22.11) at 20, Dkt.

No. 425-43; Mot., Ex. 44, CompStat Summ. (11.6.14) at 14, Dkt. No. 425-44.) As described

above, CPD officers increased the rate at which they stopped African-American residents under

McCarthy, and increased that rate further after McCarthy left the department (even as stops and




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frisks declined dramatically). And while stops of Hispanic residents remained roughly constant on

a percentage basis, the disparity between stops of Hispanic and white residents increased during

that time. Further, Judge Keys found that African-American and Hispanic residents were

“significantly more likely (in statistical terms) to find themselves in a bad (unconstitutional) stop”

compared to white residents. (Keys’s First Report at 29.) The Police Accountability Task Force

report and Department of Justice investigation contain numerous examples of Chicagoans

reporting racially discriminatory treatment by Chicago police officers. Finally, the Floyd court

held that “targeting the right people,” as applied in New York City’s stop and frisk program, was

racially discriminatory in violation of Fourteenth Amendment. Floyd II, 959 F. Supp. 2d 540 at

603.

       But while Plaintiffs have sketched out a theory of racial discrimination sufficient to

survive a motion to dismiss, the Court cannot find that they have met their burden of

demonstrating a common question supporting certification of the proposed Fourteenth

Amendment subclass. The Court is hesitant to weigh heavily Judge Keys’s finding of a

statistically significant difference in the rates of stops of African-American and Hispanic residents

and white residents. Plaintiffs did not present their own expert analysis of statistical significance,

and thus the Court has not weighed the reliability of this expert opinion evidence. While there is

no requirement that Plaintiffs support their class certification motion with expert statistical

analysis, Plaintiffs have not substantially developed that basis for establishing a common

question.

       Without a broader base of evidentiary support, the Court cannot find that the CPD’s policy

of “stopping the right people” was a centralized element of Chicago’s stop and frisk program, let

alone a sufficient basis for finding common question. The evidence presented by Plaintiffs here is




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thin compared to peer class actions, such as the Floyd case, where plaintiffs presented substantial

evidence that investigatory stops were concentrated against African-American and Hispanic

residents even after controlling for crime rates, patrol strength, and other relevant factors; that

police officers treated African-American and Hispanic residents more harshly during stops; and

that police officers gave vague or incoherent explanations for stops more often when stopping

African-American and Hispanic people. See Floyd I, 283 F.R.D. at 168–69. The Floyd court

expressed uncertainty that evidence of disproportionate stops of African-American and Hispanic

residents after controlling for other relevant factors, on its own, would justify class certification.

Id. at 168 n.88. But here, Plaintiffs have presented a weaker statistical record, not even

establishing disproportionate stops of African-American and Hispanic residents after controlling

for other factors.

        Further, while the Floyd court found the NYPD’s unwritten policy of “stopping the right

people” (a phrase also used in Chicago’s stop and frisk program) to violate the Fourteenth

Amendment, the court made this finding based on police executives’ acknowledgment that young

men of color were targeted for stops based on a general understanding of the demographics of

perpetrators and victims of gun shootings. Floyd II, 959 F. Supp.2d at 604. Here, Plaintiffs have

not demonstrated a common issue of how the directive to “stop the right people” was interpreted

or acted on. Plaintiffs rely on a CPD presentation created in response to the ACLU report on stop

and frisk, but this after-the-fact analysis does not speak to the CPD’s use of stop and frisk as an

intentionally racially discriminatory practice. (Mot., Ex. 47, CPD Presentation Addressing ACLU

Report, Dkt. No. 425-47.)

        The Court does not suggest that Plaintiffs must prove intentional racial discrimination to

justify class certification; instead, Plaintiffs must present sufficient evidence to conclude that a




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common issue actually exists. The plaintiffs in Wal-Mart might have made out a common

question if they had shown that the company’s Chief Executive Officer had told supervisors to

“promote the right people,” mirroring an initiative that had been found to discriminate by gender

at the Chief Executive Officer’s previous company, and that gender-based promotion disparities

worsened during and after this initiative. But Plaintiffs must at least lay out the channels of a

legally viable claim and provide sufficient evidence to establish a common question. If the only

element of an Equal Protection Claim were disparate impact, Plaintiffs would have easily met the

burden of establishing a common question; as it stands, Plaintiffs have not met their burden.

                       3.      Fourth Amendment Loitering Subclass

       Finally, Plaintiffs propose the common question of whether the CPD’s policies for

enforcing the Gang and Narcotics-Related Loitering Ordinances violate the Fourth Amendment.

Those ordinances allow police officers to criminalize “loitering” by first informing persons that

they are engaged in “gang loitering,” then ordering those persons to disperse and informing them

that they will be arrested if they do not, and finally arresting anyone who does not disperse or

returns to the scene. (Mot., Ex. 30, Chi. Mun. Code § 8-4-015(a) (“Gang and Narcotics Loitering

Ordinance”), Dkt. No. 425-30.) Here, Plaintiffs raise the common question of whether the CPD’s

policy required the unconstitutional seizures of “gang loiterers” as a matter of course. Plaintiffs

failed to establish a common question on this claim in their initial class certification motion.

Specifically, the Court rejected Plaintiffs’ theory that any contact card indicating gang loitering

provided irrebuttable proof of an investigatory stop, instead finding that the CPD’s policies

facially allowed for contact cards to document either (1) investigatory stops or (2) enforcement of

the loitering ordinances. (Mem. Order & Op. at 16–17.)




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       Plaintiffs now present new evidence in support of a common question. Plaintiffs point to

an “Investigatory Stop Pocket Guide” that the CPD issued to officers to instruct them on, among

other things, how to enforce the Gang and Narcotics Loitering Ordinance. The Pocket Guide

instructs that officers should respond to loitering activity prohibited by the Gang and Narcotics

Loitering Ordinance by conducting an investigatory stop and then giving a dispersal order. (Mot.,

Ex. 33, Investigatory Stop Pocket Guide at 1, Dkt. No. 425-33.) This guidance requires officers to

conduct stops before issuing a dispersal order, suggesting that the CPD’s policy requires officers

to make unlawful stops. A loiterer has not committed criminal activity until they refuse to leave a

loitering zone following a dispersal order. But without suspicion that a crime has happened or is

about to happen, an investigatory stop when issuing dispersal orders violates the Fourth

Amendment.

       Various CPD personnel testified that the Gang and Narcotics Loitering Ordinance requires

CPD officers to conduct investigatory stops when issuing gang dispersal orders. Eric Washington,

a deputy chief at the CPD, testified that an investigatory stop was required when giving a

dispersal order under the Gang and Narcotics Loitering Ordinance. (Mot., Ex. 37, Dep. of Eric

Washington at 215, 17, Dkt. No. 425-37 (“You have to stop them and engage them. That’s a

street stop . . . You do the street stop in order to give the dispersal order. You are stopping the

people that you’re going to give a dispersal order to.”) Deputy Chief Terrence Williams similarly

stated his understanding that the Gang and Narcotics Loitering Ordinance allows officers to

“conduct a stop” for gang loitering and described such a stop as non-consensual (by definition, an

investigatory stop.) (Williams Dep. at 216–18.) Officer Jon Patterson, an instructor in the

Department’s Education and Training division, similarly testified that gang and narcotics loitering

encounters are not voluntary stops. (Mot., Ex. 25, Dep. of Jon Patterson at 122–23, Dkt. No. 425-




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25.) Here, Plaintiffs have presented a common question on their Monell claims, including whether

CPD officers were instructed to make unconstitutional stops as a matter of policy and whether

those instructions were developed and implemented by CPD leadership.

       Defendants object that this Court previously denied certification of a similar class because

the constitutionality of any given investigatory stop was an individualized question not

susceptible to classwide resolution. Of course, a police officer who stops a loiterer to order them

to disperse might have reasonable articulable suspicion that such person was committing (or

about to commit) a crime, but such a suspicion would be a coincidence and unrelated to

enforcement of the ordinance. And the Court need not resolve every class members’ stop to grant

relief under Rule 23(b)(2); instead, the Court can make findings regarding the extent of Fourth

Amendment violations, if any, and grant relief on that basis. See, e.g., Floyd II, 959 F. Supp. at

658–60 (making conclusions after trial regarding the extent of the NYPD’s unconstitutional stops

and the Department’s deliberate indifference towards those violations); Ortega-Melendres v.

Arpaio, 836 F. Supp. 2d 959, 989 (D. Ariz. 2011) (holding that individualized factual

circumstances of traffic stops did not defeat commonality where Plaintiffs identified a common

issue regarding unlawful departmental policy.)

       In sum, Plaintiffs’ new theory and evidence establishes a common question among the

proposed class of whether the CPD’s enforcement policies are constitutional; the Court gives no

opinion at this stage as to whether Plaintiffs will ultimately prevail on their theory.

                       4.      Prohibition on Across-the-Board Classes

       Over time, courts have become less amenable to “across-the-board” classes, which

involve “structural injunctions taking control of executive functions.” Rahman v. Chertoff, 530

F.3d 622, 626 (7th Cir. 2008). The basic principle is that the judiciary should not attempt to sit in




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place of the executive. Id. Plaintiffs’ 22-part demand for injunctive relief suggests a risk of

judicial overreach in this regard. Plaintiffs seek an injunction prohibiting the CPD from

continuing suspicionless stop and frisk policies or racial profiling policies; enjoining the use of

productivity standards for arrests or stops and frisks; requiring improved training and adequate

supervision; implementing a new centralized electronic stop database to record all stops;

convening an Independent Panel subject to court supervision to monitor a stop and frisk remedial

process; appointing a separate civil training advisory committee to support the CPD in improving

its training; and requiring implementation of a new disciplinary program, among numerous other

changes. (Sixth Am. Compl. at 75–77.) This smorgasbord of injunctive relief, if granted in full,

could potentially enmesh the Court in almost every aspect of Chicago policing, including data

collection, officer supervision, police discipline, police tactics, and police training.

       Still, the Court does not conclude that their proposed class should therefore be denied. An

“across-the-board” class is one where plaintiffs seek to challenge a broader set of policies than

those from which they claim injury. Rahman, 530 F.3d at 626. The Supreme Court has held that

certified classes “must correspond to the injuries received by the representative plaintiffs.” Id.

(citing Falcon, 457 U.S. 147). Here, Plaintiffs do not cross the line into proposing an across-the-

board class because Plaintiffs’ three proposed classes involve specific and discrete stop and frisk

practices. Plaintiffs only seek to represent persons who have suffered similar injuries. While

Plaintiffs may not be entitled to some of the relief they seek, if they prove that the CPD has

implemented centralized stop and frisk policies that violate the Fourth and Fourteenth

amendments, the Court can fashion an appropriately limited remedy.




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               C.      Typicality, Ascertainability, and Overbreadth

       The representative parties’ claims must be typical of the class. Fed. R. Civ. P. 23(a)(3). “A

plaintiff’s claim is typical if it arises from the same event or practice or course of conduct that

gives rise to the claims of other class members and his or her claims are based on the same legal

theory.” De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983) (citation

omitted). Here, the named plaintiffs allege they have experienced the same harms as the other

class members. Their individual claims match the class claims. (Sixth Am. Compl. ¶¶ 317–52,

373–82, 443–57.) Defendants’ arguments that Plaintiffs’ encounters do not arise under a single

legal theory and are not the result of a single course of conduct by the CPD are addressed above.

Importantly, Plaintiffs are not required to sketch out a “typical” police encounter; instead,

typicality lies in their common allegations of suffering unlawful stops and frisks and the typicality

of those claims with the class as a whole. See Zollicoffer v. Gold Standard Baking, Inc., No. 13 C

1524, 2020 WL 1527903, at *24 (N.D. Ill. Mar. 31, 2020) (“But just because each Plaintiff has

unique circumstances—as the Court would expect of every putative class member—that does not

make his claims atypical or inadequately aligned with those of the class.”)

       Defendants identify no meaningful misalignments between the circumstances and interests

of the named Plaintiffs and other class members. The fact that some class members’ allegedly

unconstitutional stops were recorded using contact cards, and others using ISRs, is not at the core

of their claims. Plaintiffs allege that they were harmed by CPD’s continuing unlawful stop and

frisk practices, not from the manner of documentation. The specific theory under which Plaintiffs

proceed—that supervision and training defects (and the practices associated with gang and

narcotics loitering enforcement) caused the CPD to violate Plaintiffs’ Fourth Amendment rights—

is not disrupted by the use of two different forms to record stops.




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       The typicality analysis invites the question of who the class members are, what their

claims are, and how many class members actually have viable claims. These questions weigh on

whether named Plaintiffs are “typical” of the class as a whole. Some light can be shed on this

issue by considering ascertainability, an implicit Rule 23 requirement recognized by the Seventh

Circuit requiring that class membership be based on objective criteria. Mullins v. Direct Dig.,

LLC, 795 F.3d 654, 657 (7th Cir. 2015). Here, the Fourth Amendment claim encompasses all

persons subjected to investigatory stops resulting in creation of contact cards or Investigatory Stop

Reports since April 20, 2013; the Fourth Amendment Loitering Subclass is a subset of the main

class whose contact cards or ISRs list the contact type as “GANGLTR,” reflecting a gang and

narcotics-related loitering stop. (Mot. at 14.)

       Under the ascertainability requirement, class definitions cannot succeed if they are

“defined too vaguely,” if they are “defined by subjective criteria, such as by a person’s state of

mind,” or if they are “defined in terms of success on the merits.” Mullins, 795 F.3d at 659–660.

The class definitions here are not defined too vaguely or by subjective criteria; instead, they

encompass all persons subjected to an investigatory stop recorded by a contact card or ISR. The

requirement that a class not be defined by success on the merits—known as a “fail-safe” class”—

requires more explanation. This requirement prevents Plaintiffs from certifying a class of, for

example, all persons whose Fourth Amendment rights were violated as a result of the CPD’s

failures of training and supervision. Such a definition “is a problem because ‘a class member

either wins or, by virtue of losing, is defined out of the class and is therefore not bound by the

judgment.’” Id. (quoting Messner, 669 F.3d at 825.) Plaintiffs’ proposed definition avoids this

problem—it includes all persons subjected to investigatory stops recorded by contact cards and

ISRs, not only those whose Fourth Amendment rights were violated.




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       Defendants also challenge Plaintiffs’ proposed classes as overbroad. Although proposed

classes often include some persons who suffered no injury, this does not preclude class

certification. Kohen, 571 F.3d at 677. Instead, a class should not be certified if the class definition

encompasses people who could not have been injured or if it contains “a great many persons who

have suffered no injury.” Id. (citations omitted). Assuming that the CPD’s internal audits

correctly reflect that 10–15% of the CPD’s investigatory stops violated the Fourth Amendment,

around 85–90% of Plaintiffs’ proposed class would not have been directly injured by

unconstitutional stops. The question is whether such a class is overbroad because it includes too

many people who have not been unconstitutionally stopped.

       The Seventh Circuit has found class certification appropriate even when most class

members may not have been injured. Parko v. Shell Oil Co., for example, involved a putative

class of 150 homeowners who claimed that their property values were damaged by contaminants

leaked from an oil refinery. 739 F.3d 1083, 1084 (7th Cir. 2014). The Seventh Circuit rejected a

challenge to the class’s numerosity based on lack of standing among homeowners whose property

values were not reduced by contaminant leakage, explaining:

       To require the district judge to determine whether each of the 150 members of the
       class has sustained an injury—on the theory that if 140 have not, and so lack
       standing, and so should be dropped from the class, certification should be denied
       and the 10 remaining plaintiffs be forced to sue (whether jointly or individually)—
       would make the class certification process unworkable; the process would require,
       in this case, 150 trials before the class could be certified . . . . How many (if any) of
       the class members have a valid claim is the issue to be determined after the class is
       certified.

Id. at 1084–85. So long as the homeowners might have been injured, it was improper to evaluate

the merits of each individual’s tort claim, even if more than 90% (140 out of 150) of the class

members might not be entitled to relief. Where other cases have found overbreadth, those cases

tend to rest on (1) the plaintiffs’ failure to develop evidence that more than a few people were



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injured or (2) a proposed class definition that necessarily includes people who could not have

been injured. See Adashunas v. Negley, 626 F.2d 600, 604 (7th Cir. 1980) (finding “abstract,

conjectural or hypothetical” injuries to “amorphous and diverse” class of all unidentified children

with learning disabilities failed to state Article III case or controversy); Oshana v. Coca-Cola Co.,

472 F.3d 506, 510 (7th Cir. 2006) (affirming district court’s denial of class certification for class

of all Illinois persons who purchased fountain Diet Coke in Illinois over several-year period,

where “countless” class members “could not show any damage” from the alleged deception.)

Accordingly, the Court finds no impermissible overbreadth in Plaintiffs’ proposed class

definitions.

       Most likely, some class members’ Fourth Amendment rights were not violated while other

class members may have experienced more clear-cut Fourth Amendment violations than the

named Plaintiffs. But Plaintiffs’ claims squarely target the same system of supervision and

training that allegedly affected all class members. Plaintiffs therefore meet the typicality

requirement.

               D.      Adequacy

       Under the adequacy requirement, Plaintiffs must establish that: “(1) their claims are not

antagonistic to or in conflict with those of the proposed class; (2) they have sufficient interest in

the outcome of the case; and (3) experienced, competent counsel represents them. Makor Issues &

Rights, Ltd. v. Tellabs, Inc., 256 F.R.D. 586, 599 (N.D. Ill. 2009) (citing Rosario v. Livaditis, 963

F.2d 1013, 1018 (7th Cir. 1992)). The proposed class representatives, Darnell Smith, Hector

Fontanez, Jr., Marcell Davis, Michael Sanders, and Rashawn Lindsey, bring claims typical of the

proposed classes and share their interests. (Sixth Am. Compl. ¶¶ 343–51, 373–82, 443–57.) They




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have also meaningfully participated in the lawsuit, including participating in discovery and sitting

for depositions.

       Defendants argue that Sanders and Davis cannot be class representatives because their

police encounters described in the complaint were not documented by contact cards. It is true that

representative plaintiffs must be a member of the class they purport to represent. See Gomez v.

Illinois State Bd. of Educ., 117 F.R.D. 394, 397 (N.D. Ill. 1987) (citing Davis v. Ball Memorial

Hospital, Inc., 753 F.2d 1410, 1420 (7th Cir.1985). But the relevant class definitions are defined

to include persons who have been subject to a stop resulting in the creation of a contact card or

ISR since April 20, 2013. All named Plaintiffs meet this criterion. Defendants acknowledged in

their response that Davis had received contact cards during this time period, and even attached

Sanders’ May 23, 2013 contact card to their response. (Resp., Ex. F, Sanders Contact Cards, Dkt.

No. 450-6.) Because the proposed class definitions require that class members were stopped by

police resulting in creation of a contact card or ISR, and this is true of all named Plaintiffs, the

named Plaintiffs would be members of the proposed classes.

       Defendants specifically challenge Lindsey’s adequacy as a representative for the Fourth

Amendment Loitering Subclass because his encounter did not arise from the challenged gang

loitering ordinance. As evidence, Defendants note that under the gang loitering ordinance, police

officers may only issue dispersal orders on police beats designated as “Hot Spots” or “High

Threat Level Gang Conflicts Zones,” and Lindsey was not in such an area when police stopped

and frisked him. (Resp. at 10.) But Lindsey’s contact card states directly that he was stopped for

“Gang and Narcotics-Related Loitering.” (Mot. at 44 (attaching screenshot of relevant contact

card entry).) This contact card establishes that Lindsey is a member of the class he wants to




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represent and allows for the possibility that the Gang and Narcotics Loitering Ordinance was

wrongfully enforced against him.

         The Court similarly finds that Plaintiffs’ counsel are experienced in civil rights litigation

and class action litigation, and have and will continue to invest considerable time and effort in

bringing Plaintiffs’ claims forward. Plaintiffs’ counsel thus meet the Rule 23(a)(4) adequacy

requirements.

                E.      Rule 23(b)(2) Requirements

         Class certification under Rule 23(b)(2) also requires that “the party opposing the class has

acted or refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

23(b)(2). The Seventh Circuit has interpreted the Rule to require the contemplated equitable relief

to be both “(1) ‘appropriate respecting the class as a whole’ and (2) ‘final.’” Kartman v. State

Farm Mut. Auto. Ins. Co., 634 F.3d 883, 892 (7th Cir. 2011). These requirements are

“unquestionably satisfied” where, as here, “members of a putative class seek uniform injunctive

or declaratory relief from policies or practices that are generally applicable to the class as a

whole.” Lippert v. Baldwin, No. 10 C 4603, 2017 WL 1545672, at *9 (N.D. Ill. Apr. 28, 2017)

(quoting Parsons v. Ryan, 754 F.3d 657, 688 (9th Cir. 2014)). As Plaintiffs seek the same relief

for all members—namely, policy changes and monitoring to bring CPD’s stop and frisk program

into compliance with the Fourth Amendment—this standard has been met. While Defendants

argue that Plaintiffs lack standing because contact cards are no longer used, the true targets of

Plaintiffs’ claims are the CPD’s stop and frisk policies, not the specific form used to record those

stops.




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       Because Plaintiffs’ proposed Rule 23(b)(2) Fourth Amendment Class and Fourth

Amendment Loitering Subclass both meet the requirements for certification, the Court certifies

the classes.

       III.    Proposed Rule 23(b)(3) and 23(c)(4) Classes

       As noted above, Plaintiffs previously moved for certification of various classes under

Rules 23(b)(3) and 23(c)(4), which the Court denied. Now, Plaintiffs make another attempt. Class

certification decisions are “inherently tentative” and may be revisited by the Court as appropriate.

Falcon, 457 U.S. at 160. Here, the Court considers whether Plaintiffs have offered a sufficiently

distinct legal theory or compelling new facts for the Court to revise its previous analysis.

               A.      Rule 23(b)(3) Class

       Plaintiffs ask the Court to certify a Rule 23(b)(3) class defined consistently with their Rule

23(b)(2) Fourth Amendment Loitering Subclass, consisting of “[a]ll persons who, since April 20,

2013, have been, or in the future will be, encountered by the Chicago Police Department, resulting

in the creation of a Contact Information Card or Investigatory Stop Report where the contact type

is designated as “GANGLTR” or “Gang and Narcotics-Related Loitering.” (Mot. at 43.) The

above analysis of the Rule 23(a) factors applies equally here; Plaintiffs have established

numerosity, commonality, typicality, adequacy, and ascertainability for this proposed class, based

on the above-discussed evidence and argument. But under Rule 23(b)(3), Plaintiffs must also

demonstrate that “questions of law or fact common to class members predominate over any

questions affecting only individual members, and that a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). The

Court considers the class members’ interests in individual control of their claims, whether other




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lawsuits weigh against certifying a class, the desirability of the forum, and difficulties in

managing the class action. Id.

       In its previous ruling, the Court acknowledged the challenges of assessing whether

suspicionless seizures occurred in an individual police stop. Whether a person has been seized

within the meaning of the Fourth Amendment depends on, “if, in view of all the circumstances

surrounding the incident, a reasonable person would have believed that he was not free to leave.”

Michigan v. Chesternut, 486 U.S. 567, 573 (1988) (emphasis added). “Moreover, what constitutes

a restraint on liberty prompting a person to conclude that he is not free to ‘leave’ will vary, not

only with the particular police conduct at issue, but also with the setting in which the conduct

occurs.” Id. (emphasis added); see also United States v. Swift, 220 F.3d 502, 506 (7th Cir. 2000)

(“The [Fourth] amendment does not prevent all encounters between the police and citizens. It

comes into play when a police officer uses physical force or a show of authority to restrain the

liberty of a citizen.”). In the same way, “the determination of reasonable suspicion must be based

on commonsense judgments and inferences about human behavior.” Wardlow, 528 U.S. at 125.

Whether an officer had reasonable suspicion sufficient to support a Terry stop depends on “the

totality of the circumstances known to the officer at the time of the stop, including the experience

of the officer and the behavior and characteristics of the suspect.” United States v. Grogg, 534

F.3d 807, 810 (7th Cir. 2008).

       The major difference between Plaintiffs’ proposed Rule 23(b)(3) class and their proposed

Rule 23(b)(2) Fourth Amendment Loitering subclass is that members of the Rule 23(b)(3) class, if

successful, will obtain money damages for the harms they suffered. Plaintiffs contend that, despite

the complexities of assessing damages for individual seizures on a classwide basis, common

questions predominate for the Rule 23(b)(3) class: specifically, “(1) whether the [gang loitering]




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policy requires investigatory stops in the absence of reasonable articulable suspicion; and (2) if so,

whether it is unconstitutional.” (Mot. at 51.) Plaintiffs acknowledge that class members might

require individualized damages determinations, arguing that 23(b)(3) certification is nevertheless

appropriate and that, in the alternative, damages could be assessed on a presumed damages model.

But Plaintiffs miss a key step in their predominance analysis, which is that even if the Court found

that the gang loitering policy required unconstitutional investigatory stops, it would still be

necessary to analyze any given stop to determine whether it was, in fact, unconstitutional. Even if

the City’s policy required unconstitutional stops and frisks, a person could still consent to a police

officer’s interview (defeating the “seizure” prong) and the officer could still make a stop with

reasonable articulable suspicion of criminal activity (defeating the “reasonable articulable

suspicion” prong.) Even after proving that the policy required police officers to take

unconstitutional actions, Plaintiffs would be left with tens of thousands of individualized liability

and damages determinations.

       For this reason, common questions of law and fact do not predominate, and Plaintiffs’

proposed Rule 23(b)(3) class will not be certified.

               B.      Rule 23(c)(4) Class

       Finally, Plaintiffs propose a 23(c)(4) issues-only class to resolve (1) whether the gang

loitering policy requires stops without reasonable articulable suspicion, and (2) whether such a

requirement is constitutional. The Seventh Circuit has acknowledged that issues classes may be

appropriately certified where “there are genuinely common issues . . . the accuracy of the

resolution of which is unlikely to be enhanced by repeated proceedings.” Mejdrech v. Met-Coil

Sys. Corp., 319 F.3d 910, 911 (7th Cir. 2003). Efficiency is the key consideration in this analysis.

See Clark v. Experian Info. Sols., Inc., 256 Fed. App’x. 818, 822 (7th Cir. 2007) (affirming denial




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of issues-only class certification where, “[b]ecause of the need for individualized findings in such

a large class, little efficiency would be gained by certifying a class for only particular issues”).10

Here, as before, the Court finds no efficiencies to be gained in certifying an issues-only class,

considering the predominance of individualized questions in establishing liability.

                                            CONCLUSION

        For the above reasons, the Court grants in part and denies in part Plaintiffs’ motion for

class certification. (Dkt. No. 425.) The Court grants certification of Plaintiffs’ proposed Rule

23(b)(2) Fourth Amendment Class and Fourth Amendment Loitering Subclass. The Court denies

certification of Plaintiffs’ proposed Rule 23(b)(2) Fourteenth Amendment Subclass and proposed

Rule 23(b)(3) and 23(c)(4) classes.


                                                        ENTERED:



Dated: August 31, 2021                                  __________________________
                                                        Andrea R. Wood
                                                        United States District Judge




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  Clark is an unpublished Seventh Circuit order issued after January 1, 2007. Although not precedential,
the order’s reasoning is persuasive and provides a useful point of comparison here. See Fed. R. App. P.
32.1(a); 7th Cir. R. 32.1(b).


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